






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00662-CR







In re Charles Raymond Lee







FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT


NO. 03-798-K277, HONORABLE KEN ANDERSON, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Charles Raymond Lee is serving life sentences imposed following his
2005&nbsp;convictions in Williamson County for two counts of aggravated sexual assault.  On
October&nbsp;28,&nbsp;2009, the district clerk filed Lee's pro se notice of appeal from a purported order by the
district court dated October 20, 2009, denying Lee's motion for post-conviction DNA testing. 
See&nbsp;Tex. Code Crim. Proc. Ann. art. 64.01 (West Supp. 2009).  The clerk forwarded a copy of the
notice of appeal to the Clerk of this Court, and the appeal was docketed on November 4, 2009.

Following inquiries from the Clerk, the district clerk informed the Court that "neither
a Motion nor an Order regarding DNA testing has been received from [Lee].  Nor has the [district]
court signed an order denying or granting a request for DNA testing."  The Court also received and
filed a clerk's record containing the pro se notice of appeal and related pro se documents filed by
Lee, but containing no motions or orders under chapter 64.  Most recently, the Court received a
pro&nbsp;se motion from Lee asking that he be allowed to appeal an order denying his request for counsel
in the chapter 64 proceeding, which this motion states was filed in November 2009.

From this record, we must conclude that the district court has made no appealable
orders denying counsel or DNA testing under chapter 64.  The appeal and all pending motions
are&nbsp;dismissed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   March 12, 2010

Do Not Publish


